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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA


SMARTMATIC USA CORP., SMARTMATIC
INTERNATIONAL HOLDING B.V. and SGO
CORPORATION LIMITED,

                              Plaintiffs,
                                                  Case No. 22-cv-00098- WMW-JFD
                      v.

MICHAEL J. LINDELL and MY PILLOW,
INC.,

                             Defendants.


DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
                    RESPONSIVE BRIEF

      Defendants Michael J. Lindell and My Pillow, Inc. (“Defendants”) hereby

respectfully submit this Unopposed Motion for Extension of Time to File Responsive

Brief in the above-captioned action. Plaintiffs have indicated that they do not object to

this requested extension and will not oppose this requested extension. In support of this

Motion, the undersigned states:

 1.   The original deadline for Defendants to file their responsive brief was February

      16, 2023 by 11:59 p.m. CST;

 2.   The attorney of Parker Daniels Kibort LLC was the attorney handling discovery

      including requests, responses, discussions, and the several meet and confers in this

      matter was diligently working on preparation of the responsive brief for filing on

      February 16, 2023;


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3.   The attorney worked from home on the responsive brief and planned to file it

     timely on February 16, 2023;

4.   Late in the day the attorney indicated he would be able to timely file the

     responsive brief;

5.   After not hearing from the attorney for some time, later in the evening our office

     attempted to reach him multiple times;

6.   Despite numerous calls, text messages and emails, no response was received;

7.   I became so concerned for the attorney’s well-being that around 11:00 p.m. CST, I

     called 911 to request that they send someone to his residence;

8.   I informed opposing counsel by email on February 16 after my call to 911 of our

     inability to timely file;

9.   Emergency services were dispatched to the attorney’s residence and were also

     unable to contact the attorney or enter his residence;

10. We have now learned that the attorney suffered an unexpected medical emergency

     and presently remains out on medical leave;

11. Opposing counsel has stated in writing that they stipulate to an extension to the

     end of the day today to file Defendants’ responsive brief;

12. This Motion is not made for purposes of delay;

13. Our firm has never missed a set deadline in either state or federal court since our

     inception, but this situation was unexpected and unavoidable;

14. We apologize to the Court for this unexpected delay and failure to timely file

     Defendants’ responsive brief;

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 15. Defendants respectfully request a brief extension of time to file their responsive

       brief.

WHEREFORE, Defendants respectfully request that the Court grant them until today,

Friday, February 17, 2023 at 11:59 p.m. CST, to file its responsive brief.


                                          Respectfully submitted,


DATED: February 17, 2023.                 PARKER DANIELS KIBORT LLC

                                          By /s/ Andrew D. Parker
                                            Andrew D. Parker (MN Bar No. 195042)
                                            Matthew R. Eslick (MN Bar No. 388494)
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                                          ATTORNEYS FOR DEFENDANTS




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